Thomas M. Olejniczak

Frederick L. Schmidt
R. George Burnett
Gregory A. Grobe

Tori L. Kluess

Retired:
Gregory B. Conway
J. Michael Jerry

Robert M. Charles

Jodi Amdt Labs

David H. Weber oo
Ross W. Townsend hae
Michele M. McKinnon

Kurt A. Goehre -
James M. Ledvina Since 1976

Brick N. Murphy BA: Sim of

       

Telephone: (920) 437-0476

Steven J. Krueger Facsimile: (920) 437-2868
Jill J. Ray
Joshua M. Koch jodi@lcojlaw.com

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August 3, 2017

Attorney James A. Walcheske
Walcheske & Luzi LLC

15850 W. Bluemound Road, Suite. 304
Brookfield, WI 53005-6008

Re: Timothy J. Fast vs. Cash Depot, Ltd.
U.S. District Court Case No.: 16-CV-1637

Dear Attorney Walcheske:

Enclosed is a check in the amount of $13,333.35. This check represents payment of the costs
and attorneys’ fees incurred in advancing Mr. Fast’s wage claim against Cash Depot. The
payment is based on the interrogatory responses your office provided to us on July 14, 2017,
wherein you represented that you had $402.35 in costs and $12,931 in attorneys’ fees.

Please note that Cash Depot is making this payment despite the fact that you have failed to
provide us with any type of backup documentation or details concerning the attorneys’ fees,
information we requested in our letter dated July 17, 2017. Without such information we are
unable to assess the reasonableness of your attorneys’ fees. However, as we have stated
throughout this matter, we wish to avoid unnecessary legal fees and hence Cash Depot has
elected to pay such fees and costs without assessing the reasonableness of the fees.

The enclosed payment, along with the previous payroll check we sent to you for the additional
wages Schenck determined were owing to Mr. Fast, represents payment in full for the damages
sustained by Mr. Fast, along with the liquidated damages and fees allowed for under the Fair
Labor Standards Act.

EXHIBIT _

 

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CONWAY, OLEJNICZAK & JERRY, S.C,

August 3, 2017
Page 2

Thank you.
Very truly yours,

LAW FIRM OF CONWAY, OLEJNICZAK & JERRY, S.C.

    
   

By: an a RE CRE ce
Jodi Arndt Labs

JAL:jal
Enclosure
ce: David R. Charles, Sr., Cash Depot, Ltd.

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Case 1:16-cv-01637-WCG Filed 08/04/17 Page 2 of 3 Document 21-14
   

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Case 1:16-cv-01637-WCG Filed 08/04/17 Page 3 of 3 Document 21-14
